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In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS

*********************
OVA FRANKLIN KELLY,      *                           No. 15-167V
                         *
             Petitioner, *                           Special Master Moran
                         *
v.                       *                           Filed: November 12, 2015
                         *
SECRETARY OF HEALTH      *                           Stipulation; influenza (“flu”) vaccine;
AND HUMAN SERVICES,      *                           Guillian-Barré Syndrome (“GBS”).
                         *
             Respondent. *
*********************
Vanessa L. Brice, Colling Gilbert Wright & Carter, L.L.C., Orlando, FL, for
Petitioner;
Lara A. Englund, United States Dep’t of Justice, Washington, DC, for Respondent.

                              UNPUBLISHED DECISION1

       On November 10, 2015, respondent filed a joint stipulation concerning the
petition for compensation filed by Ova Franklin Kelly on February 23, 2015. In
his petition, Mr. Kelly alleged that the influenza (“flu”) vaccine, which is
contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), and
which he received on or about October 7, 2013, caused him to suffer Guillian-
Barré Syndrome (“GBS”). Petitioner further alleges that he experienced the
residual effects of this injury for more than six months. Petitioner represents that
there has been no prior award or settlement of a civil action for damages as a result
of his condition.

      Respondent denies that the flu vaccine is the cause of petitioner’s GBS or
any other injury or his current condition.


       1
         The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the party has 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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      Nevertheless, the parties agree to the joint stipulation, attached hereto as
“Appendix A.” The undersigned finds said stipulation reasonable and adopts it as
the decision of the Court in awarding damages, on the terms set forth therein.

        Damages awarded in that stipulation include:

        A lump sum of $200,000.00 in the form of a check payable to petitioner,
        Ova Franklin Kelly. This amount represents compensation for all
        damages that would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 15-167V according to this decision
and the attached stipulation.2

        Any questions may be directed to my law clerk, Dan Hoffman, at (202) 357-
6360.

        IT IS SO ORDERED.

                                                     s/ Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




        2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.
                                                2
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